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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNION ASSET MANAGEMENT                   Case No. 3:20-cv-00518-X
HOLDING AG, Individually and On Behalf
All others similarly situated,           CLASS ACTION

                  Plaintiff,

            v.

FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                  Defendants.



MOTION OF UNION ASSET MANAGEMENT HOLDING AG FOR APPOINTMENT
  AS LEAD PLAINTIFF AND APPROVAL OF ITS SELECTION OF COUNSEL
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TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that proposed Lead Plaintiff Union Asset Management Holding

AG (“Union”), hereby moves this Court, pursuant to Section 21D(a)(3)(B) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by the

Private Securities Litigation Reform Act of 1995 (the “PSLRA”), for an order: (i) appointing

Union as Lead Plaintiff; (ii) approving its selection of Bernstein Litowitz Berger & Grossmann

LLP (“Bernstein Litowitz”) as Lead Counsel for the Class and McKool Smith PC (“McKool

Smith”) as Liaison Counsel for the Class; and (iii) granting any further relief that the Court may

deem just and proper.

       This Motion is made on the grounds that Union believes that it is the “most adequate

plaintiff” under the PSLRA and should therefore be appointed Lead Plaintiff. Specifically, Union

believes it has the “largest financial interest” in the relief sought by the Class in this action by

virtue of, among other things, the approximate losses of $62.7 million Union incurred on its

purchases of approximately 2.3 million shares of Fluor Corporation common stock between

November 2, 2017 and February 14, 2020, inclusive.             Union also otherwise satisfies the

requirements of Rule 23 of the Federal Rules of Civil Procedure because its claims are typical of

other Class members’ claims and because it will fairly and adequately represent the interests of

the Class. Moreover, Union is a paradigmatic Lead Plaintiff under the PSLRA because it is a

sophisticated institutional asset manager with a substantial financial stake in the litigation, which

guarantees effective monitoring and supervision of counsel.

       This Motion is supported by the accompanying Brief and Appendix of Exhibits, the

pleadings and other filings herein, and such other written or oral argument as may be permitted by

the Court.




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          WHEREFORE, Union respectfully requests that the Court: (i) appoint it to serve as Lead

Plaintiff; (ii) approve its selection of Bernstein Litowitz as Lead Counsel and McKool Smith as

Liaison Counsel for the Class; and (iii) grant any other relief that the Court may deem just and

proper.

DATED: April 28, 2020                               Respectfully submitted,

                                                    MCKOOL SMITH PC

                                                    /s/ Lewis T. LeClair
                                                    Lewis T. LeClair
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                                                    Proposed Liaison Counsel for the Class


                                                    BERNSTEIN LITOWITZ BERGER
                                                      & GROSSMANN LLP

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                                                    Counsel for Proposed Lead Plaintiff Union
                                                    Asset Management Holding AG and Proposed
                                                    Lead Counsel for the Class




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                              CERTIFICATE OF CONFERENCE

       I hereby certify that, at the time of filing, the only party known to oppose this motion is the

Town of Fairfield Employees’ Retirement Plan and the Town of Fairfield Police and Firemen’s

Retirement Plan (“Fairfield”), and Wayne County Employees’ Retirement System (“Wayne”)—

the lead plaintiffs in Chun v. Fluor Corp., No. 3:18-cv-01338-X (N.D. Tex.) (“Chun”)—which is

evidenced by the letter brief filed by their counsel in Chun concerning this motion. See Chun,

ECF No. 104. Aside from Fairfield and Wayne, it is not possible to confer here because counsel

cannot ascertain the identity of the parties moving for appointment as Lead Plaintiff until after all

such motions have been filed. See 15 U.S.C. § 78u-4(a)(3) (allowing any class member to file a

lead plaintiff motion within 60 days of publication of early notice). Under these circumstances, I

respectfully request that the conferral requirement of Local Rule 7.1(a) be waived for these limited

purposes.


                                              /s/ Lewis T. LeClair
                                              Lewis T. LeClair


                                  CERTIFICATE OF SERVICE

       I certify that on April 28, 2020, a true and correct copy of the foregoing document was

filed with the Clerk of Court using the CM/ECF system, which will send electronic notification of

such filing to all counsel of record.

                                              /s/ Lewis T. LeClair
                                              Lewis T. LeClair




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